TO:    All Court of Appeals Judges, Professor Bacigal, Professor Swisher and John Tucker

FROM: Marty Ring

DATE: June 2, 2015


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Angela C. Bess, M.D.
              v. Valerie A. Mucci and Virginia Birth-Related Neurological Injury Compensation
                 Program
              Record No. 1191-14-4
              Opinion rendered by Judge Humphreys on
              March 3, 2015

          2. Loudoun Hospital Center, d/b/a Inova Loudoun Hospital, Azam Dabirzadeh, R.N., and
             Alysia Warfield, R.N.
              v. Valerie A. Mucci and Virginia Birth-Related Neurological Injury Compensation
                 Program
              Record No. 1211-14-4
              Opinion rendered by Judge Humphreys on
              March 3, 2015

          3. Women’s Healthcare Associates, Inc.
              v. Valerie A. Mucci and Virginia Birth-Related Neurological Injury Compensation
                 Program
              Record No. 1180-14-4
              Opinion rendered by Judge Humphreys on
              March 3, 2015

          4. Andrew Becker, s/k/a Andrew Ira Becker
              v. Commonwealth of Virginia
              Record No. 1611-13-4
              Opinion rendered by Judge Petty on
              March 24, 2015

          5. Alexy J. Abdo, a/k/a Alexi J. Abdo
              v. Commonwealth of Virginia
              Record No. 0965-14-4
              Opinion rendered by Judge McCullough on
              March 24, 2015

          6. Darius Oneil Dalton
              v. Commonwealth of Virginia
              Record No. 2385-13-3
              Opinion rendered by Chief Judge Huff on
              March 31, 2015
7. James Rush
    v. University of Virginia Health System/Commonwealth of Virginia
    Record No. 1886-14-3
    Opinion rendered by Judge McCullough on
     March 31, 2015

8. Bruce Edison Parham
    v. Commonwealth of Virginia
    Record No. 0772-14-1
    Opinion rendered by Judge Decker on
    April 7, 2015
